                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE



UNITED STATES OF AMERICA,                              )
                                                       )
v.                                                     )       No. 3:02-CR-78
                                                       )       (Phillips)
LAWRENCE WAYNE FRANCIS, II                             )



                                        ORDER

             This matter is before the court on the defendant’s motion filed on his behalf

by Federal Defender Services brought pursuant to 18 U.S.C. § 3582(c) [Doc. 1002]. The

government has filed a response deferring to the court’s discretion as to the amount the

defendant’s sentence might be reduced [Doc. 1064]. The court also has received a

modified presentence report from the United States Probation Office.



             The defendant was sentenced by the Honorable James J. Jarvis on February

18, 2004, to 140 months imprisonment for conspiracy to distribute fifty grams or more of

crack cocaine. This sentence was based on a guideline range of 188-235 months (base

offense level 33 and a criminal history category IV), which was reduced based on the

government’s motion for a downward departure due to substantial assistance. According

to the Bureau of Prisons, the defendant is scheduled for release on March 27, 2013.



             Under the retroactive amendment to the crack guidelines, the defendant’s

new guideline range is 151-188 months (base offense level 31 and a criminal history



     Case 3:02-cr-00078-TAV-DCP      Document 1067         Filed 01/06/10   Page 1 of 2
                                     PageID #: 796
category IV). With a comparable departure (40%), the defendant’s sentence would be 112

months.



             It is hereby ORDERED that the defendant’s motion [Doc. 1002, 1057] is

GRANTED, and the defendant’s sentence is reduced to 112 months. If this sentence is

less than the amount of time the defendant has already served, the sentence is reduced

to a “time served” sentence. This Order shall take effect ten (10) days from its entry in

order to give the Bureau of Prisons time to process the release of the defendant. Except

as provided above, all provisions of the judgment dated February 18, 2004, shall remain

in effect.



                                         ENTER:


                                               s/ Thomas W. Phillips
                                             United States District Judge




                                           -2-


   Case 3:02-cr-00078-TAV-DCP        Document 1067      Filed 01/06/10      Page 2 of 2
                                     PageID #: 797
